829 F.2d 36Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lacy Lee PRATT, Petitioner-Appellant,v.STATE OF NORTH CAROLINA; Attorney General of North Carolina,Respondents-Appellees.
    No. 87-7582
    United States Court of Appeals, Fourth Circuit.
    Submitted July 21, 1987.Decided August 26, 1987.
    
      Lacy Lee Pratt, appellant pro se.
      Barry Steven McNeill, Office of the Attorney General, for appellees.
      Before WIDENER and ERVIN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the magistrate's recommendation discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Pratt v. State of North Carolina, C/A No. 86-600-R (M.D.N.C., April 2, 1987).
    
    
      2
      DISMISSED.
    
    